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CSD 1151 [07!01/18]
Namei Address, Telephone No. & |.D. No.

Eugenio Ramosi CASBN 261964
2424 Hoover Ave` Suite G
Nationa| City` CA 91950
619-477-7600

 

U N|TED STATES BAN KRUPTCY COU RT
SOUTHERN DlSTR|CT OF CAL|FORN|A
325 West F Street, San Diego, Ca|ifornia 92101-6991

 

 

tn Re_ _
N|aria Rivera
BANKRuPTc:Y rio 18-06790-LT7
Debtor.
We|is Fargo Bank N.A., As Trustee for Structured Adjustab|e Rate JDS 1
Mortgage l_oan Trust, Et A| RS NO' '
Moui`ng Party

 

Nlaria Rivera, Debtor, Gerald l-t. Da\.'is, Chapter 7 Trustee
Hearing Dai:e: 1/03)'2019
Hearing Time: 2200 p.m.

 

Resgndent(s)

0PPosiTioi\r To ivioTioi\i FoR RELiEF FRoM AuToNiATic sTAY
REAi_ PRoPERTY E PERsoi\iAi_ PRoPERTY

Respondent in the above-captioned matter moves this Court for an Order denying relief from the automatic stay on the grounds
set forth below.

1_ APeriiionuncierchaprer [Zl 7 |:l11 |:l 12 l:l 13 wasniecion 11/131201§ .

2. Procedural Statu s1
a_ [Zl Name of Trustee Appointed (i'f any): Gera|d l-l. Davis
b. :l Name of Attorney of Record for Trustee (if any):
c. :l Debtor has previously filed a Bankruptcy Petition on'.

lt applicab|e, the prior case was dismissed on:

 

d :l (If Chapter 13 case)i Chapter 13 Plan was confirmed on or a confirmation
hearing is set for

 

 

3. *Nurnber of unsecured creditors § . Amoi.int of unsecured debt $ 251393.00
4. *Last operating report filed: tila
5. *Disc|osure statement Filed? (yesi‘no) nla _ Approved’? (yeslno) nla

rf yes, date ot plan confirmation hearing; nra

 

*Only required if respondent is tne debtor in a Cnapter 11 case

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Respondent alleges the following in opposition to the Motion:

1, l:| The following real property is the subject of this Motion:
a. Srreet address of the properly including county and state:

868 Rosa Court, Escondido, CA 92027

b Type of real property (e.g., single family residence, apartment building, commercial, industria|, condominium
unimproved):

Singie Fami|y Residence

 

 

 

 

 

 

 

c l_ega| description of property is attached as Exhibit A.
d. **Fair market value of property: $ 550 000.00 ,
e, **Natu re of Respondent's interest in the property: Fee S`imp|e Owner
2. :| The following personal property is the subject of this Niotion (descri'be property):
a **Fair market value of property: $
b. **Nature of Responclent's interest in the propeny; unknown/appears to be purchaser
3. Status of N|ovant's |oan:
a. Ba|ance owing on date of Order for Relief: $ 564,13§.17
b. Amount of monthly payment: $ 0.00
c. Date of last payment: unknown
d lf real propertyl
(1) Date of default unknown
(2) Notice of Defau|t recorded on: UHKHOWH
(3) Notice of Sa|e published on: UnK|'iOWl'i
{4) Foreclosure sale currently scheduled for:
e. if personal property,
(1) Pre-petition default $ No. cf months'.
(2) Post-petition defau|t; $ No. of months:
4. rif Chaprer 13 Case, slate the fo!!owi`rig:)
a Date of post-petition defauit: U"'knOWn
b Amount of post-petition defau|t: $
51 Encurnbrances:
a_ Voluntary encumbrances on the property
. . Pre-Peti`tion Arrearages Post-Pet`ition Arrearages
tender Name Pnnc'pa| Ba|ance Tota| An'iount -# of Months Tota| Amount -# of Moriths
l
151__ Wel|s Fargo Bani< 554.017-17 0
2rid: 0.00 0 0
3rd:
4ih,
Totals for all Liens: 5 564‘ 017' 1 7 $ 0' 00 $ 0'00 i

 

 

 

 

 

 

 

 

 

**Separate|y filed Dec|araticn required by LBR 4001-4.

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br involuntary encumbrances of record (e.g.j tax, mechanic's, judgment and other liens, lis pendens):
:| See attached page. if necessary

6. Relief from the automatic stay should not be granted because:
a. lz| Nlovant's interest in the property described above is adequately protected
b. :| Det)tor has equity in the property described above and such property is necessary to an effective reorganization
c :| The propeity is not "single asset real estate"j as defined in 11 U.S.C_ § 101 (5113).
d. :l The property is "single asset real estate", as defined in 11 U.S_C. § 101(51B), and less than 90 days
(or days ordered by this court) have passed since entry of the order for relief in this case, or
(1) the Debtor/Trustee has died a plan of reorganization that has a reasonable possibility of being confirmed

within a reasonable time; or

(2) the Debtor/Trustee has commenced monthly payments to each creditor whose claim is secured by the
propeity (otherthan a claim secured by a judgment lien or by an unmatured statutory lien) which payments
are equal tc interest at a current fair market rate on the value of each creditors' interest in the property

e. bill Other (speci'fiy)'_ l:l See attached page.

The Debtor has a pending Short SalelLoss N|itigation with the Nlovant. The Debtor primarily opposes the
14 day waiver of the stay and any request to waive iodgement of order.

When required, Resporident has filed a separate Dec|aration pursuant to LBR 4001-4.
Respondent attaches the following

1. l:l Other relevant evidence:

Debtor Dec|aration

2. l./l (Opri`onal) Nlemorandum of points and authorities upon which the responding party will rely.

See Attachment

Wherefore, Respondent prays that this Court issue an Order denying relief from the automatic stay

Datedi 1217/2018

/sf Eugenio Ramos
[Attorn ey for] Respondent

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Fax (760) 494-5316

ramoslawyer@aol.com
Attomey for the Debtor(s),

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF CALIFORNIA

CASE NO. 18-06790-LT7

In Re:
Attachment CSD 1161
Maria Rivera In Su ort of Opposition To Motion For
Relie¥%rom Automatic Stay
Debtor(s),
Date: 1/03/2019
Time: 2:00 p.m.
Dept.: 3
Judge; Hon. Laura S. Taylor

 

Continuation from Page 3 of CSD 1161

The Debtor hereby opposes all relief requested in the Movant’s Motion for Reliet` from
Automatic Stay.

Debtor is in the process of seeking a short sale and other loss mitigation options including
loan modification The Debtor shall update the Court regarding any acceptance regarding any
loss mitigation options by the Movant. The Debtor concedes that she is not current on her
monthly payments The Debtor has not filed bankruptcy in the past eight years The Debtor
does not agree with the waiver of the 14 day stay Waiver under Bankruptcy Rule 4001(a)(3). The

Movant has failed to show it should be entitled to this relief_

 

 

 

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CONCLUSION

1. The Court deny the Motion,

2. The Debtor also opposes the waiver of the fourteen day requirement ofFederal Rules of
Bankruptcy Procedure as the Creditor has failed to specifically plead either factually or
legally why this requirement should be waived The Debtor preserves this right for due

process reasons

3.) The Debtor also opposes any Movant’s request to waive the “Notice of Lodgement of
Order” as the Movant has failed to plead any reason either in fact or law why this
requirement should be waived The Debtor Wishes to preserve her due process rights to
review the form and contents of any order

12/17/2018

Respectfully Submitted,

/s/ Eugenio Ramos, Esq.

Eugenio Ramos, Esq.

 

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ramos|awver(ruaol lcom

Attorney for the Debtor,

UNITED STATES BANKRUPTCY COURT

SOUTHERN DISTRICT OF CALIFORNIA

CASE NO. 18-06790-LT7

ln Rc:
Declaration In Su ort of Opposition To
Maria Rivera Motion For Relie groin Automatic Stay
Debtor, Date: 1/03/2019
'I`ime: 2:00 p_m.
Dept.: 3
Judge: Hon. Laura S. Taylor

 

I am the Debtor in the aforementioned case, I am over the age of eighteen years old, 1 have
personal knowledge of the facts mentioned thereon and if called to testify l will testify as
follows:
1.) I filed chapter 7 bankruptcy on November 13, 2018 under case number 18-06790-LT7.
At the time of filing, l owed approximately $26,893 to eight different unsecured creditors

1 filed bankruptcy with the intention of discharging my unsecured debt.

2.) l filed a Chapter 7 bankruptcy on November 11 2010 under case 10-19579 in the Southern
District of Calif`ornia. l did not receive a discharge in this case The case was dismissed

for failure to file information l have filed no other bankruptcies in the past eight years.

 

Dcclaration

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3.) l am the owner of the real property located on “868 Rosa Court, Escondido, CA 92027”
of which I have a first deed of trust held by Wells Fargo Bank N_A., As Trustee for the
affected lien holder The aforementioned residence is my homestead and primary
residence l believed the value of the residence at the time of the filing of the bankruptcy
was approximately 3550,000. There is at least $550,000 owed to Wells Fargo Bank N.A.

plus arrearages

4.) At_ the time of filing, I was not current on the payments to Wells Fargo Bank N_A_ There

was a pending foreclosure sale that was stopped with the filing of the bankniptcy.

5.) Prior to filing the bankruptcy l attempted a loan modification which was denied by the
Movant. I was unable to submit a timely request for a short sale prior to the foreclosure
sale date At the present time I have asked the Movant for permission to do a short sale
on the aforementioned residence l have a realtor presently working on the short sale l
believe l can update the Court by the hearing date regarding the status of the short sale as
well as file any motion to sell if an offer is received 1 am also reviewing other loss

mitigation options that may be available

6_) In reviewing the Movant’s motion I respectfully oppose the Movant’s request to waive
the fourteen day stay requirement under Bankruptcy Rule 4001(a)(3). l have not filed
bankruptcy in the past eight years I do not see any just cause for the Court to waive this
procedural rule. l also oppose any request to waive any lodgment of order so I can review

the form and content of any relief from stay order

 

Declaration

 

 

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7.) l respectfully request the Court to deny the Movant’s request for relief from stay as

presented in the Movant’s Motion for Relief From Automatic Stay.

l hereby certify under penalty of perjury under the laws ofthe United States of America that the

aforementioned to true and correct to the best of my knowledge.

12/17/2018

/s/ Maria Rivera

Maria Rivera

 

Declaration

 

